                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 ALBERTA LOUISE PERRY,                  )
 surviving spouse and next kin of       )
 VINCENT MCKINNEY, deceased,            )
                                        )
               Plaintiff,               )
                                        )
 v.                                     )                No.:    3:21-CV-414-KAC-JEM
                                        )
 JENKINS & STILES, LLC, and             )                        Lead Case Consolidated with
 NCI GROUP, INC, d/b/a/ METL-SPAN,      )
                                        )
               Defendants.              )
 _______________________________________)
 ALBERTA LOUISE PERRY,                  )
 surviving spouse and next kin of       )
 VINCENT MCKINNEY, deceased,            )
                                        )
               Plaintiff,               )
                                        )
 v.                                     )                No.:    3:22-CV-132-KAC-JEM
                                        )
 NUCOR INSULATED PANEL GROUP, INC, )
 d/b/a METL-SPAN                        )
                                        )
               Defendant.               )

                                             ORDER

        Before the Court is “Plaintiff’s Motion for Leave to File Consolidated (and Amended)

 Complaint” [Doc. 49]. Plaintiff brought a negligence action against Jenkins & Stiles, LLC and

 NCI Group, Inc. in case number 3:21-cv-414-KAC-JEM [Doc. 1]. In answer to the Complaint,

 Jenkins & Stiles, LLC asserted as an affirmative defense the comparative fault of Nucor Insulated

 Panel Group, Inc. [Doc. 15 ¶ 8]. Pursuant to Tennessee Code Annotated § 20-1-119, Plaintiff filed

 a separate action against Nucor Insulated Panel Group, Inc. in case number 3:22-cv-132-KAC-

 JEM and subsequently moved to consolidate the cases without opposition [Doc. 42]. On June 6,

 2022, the Court granted Plaintiff’s motion and consolidated the two cases [Doc. 46]. Plaintiff now
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 moves for leave to “file a Consolidated Complaint, pursuant to Fed. R. Civ. P. 15 in Case No.

 3:21-CV-00414 to include the allegations contained in Plaintiff’s Complaint (D.E. 1) that was filed

 in Case No. 3:22-CV-132” [Doc. 49 at 1]. Plaintiff additionally seeks to amend the Complaint

 filed in 3:22-CV-132-KAC-JEM “in response to the motion to dismiss” filed by Nucor Insulated

 Panel Group, Inc. [Id. at 1-2]. In support, Plaintiff “submits it is in the interests of clarity and

 judicial economy to have a single consolidated complaint” [Id. at 2]. Plaintiff, however, does not

 indicate why, and if so how, two separate actions should continue if Plaintiff is permitted to file

 one “single consolidated complaint” with all Parties and allegations [See id.]. Additionally, the

 title of Plaintiff’s memorandum in support states that her motion is “unopposed,” but Plaintiff’s

 motion and memorandum do not substantively indicate Defendants’ positions [See Docs. 49, 50].

        Accordingly, the Court ORDERS Plaintiff to file a supplemental brief on or before

 July 15, 2022. Plaintiff shall address how filing her Proposed Consolidated Complaint in 3:21-

 cv-414-KAC-JEM would impact her cause of action asserted in 3:22-cv-132-KAC-JEM and

 whether separate actions should continue if the Court grants Plaintiff’s motion. Plaintiff shall also

 address whether her request is unopposed by all Defendants. In the event that any Defendant

 opposes “Plaintiff’s Motion for Leave to File Consolidated (and Amended) Complaint” [Doc. 49],

 Defendants’ deadline to respond is STAYED until fourteen (14) days after Plaintiff files her

 supplemental brief.

        SO ORDERED.

                                                   s/ Katherine A. Crytzer
                                                   KATHERINE A. CRYTZER
                                                   United States District Judge




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